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IN THE UNITED STATES DISTRICT COURT *
FOR THE DISTRICT OFNEW MEXICO) |
69 JUN '8 AM &: 29

 

ROMAN MONTOYA. cick
Plaintiff,

VS. Civ. 08- 349 JP/WDS

SGT. MACK L. ALLINGHAM _
SGT. JUAN MONTANO, and
DEPUTY MARTIN X. SALAZAR,

Defendants.

JUDGMENT
Plaintiff Roman Montoya having accepted the Offer of Judgment made pursuant to
Fed.R.Civ.P. 68 by Defendants Sgt. Mack L. Allingham, Set. Juan Montano, and Deputy
Martin X. Salazar, judgment is hereby entered against Defendants Sgt. Mack L. Allingham, Sgt.
Juan Montano, and Deputy Martin X. Salazar in favor of Plaintiff in the total combined amount
of Twenty Five Thousand and One dollar ($25,001.00) plus recoverable costs, including
reasonable attorneys’ fees, accrued to the date of Defendants Sgt. Mack L. Allingham’s, Set.

Juan Montano’s, and Deputy Martin X. Salazar’s Offer of Judgment, in an amount to be |

determined by the Court.

This judgment is not to be construed either as an admission that Defendants Sgt. Mack
L. Allingham, Sgt. Juan Montano, and Deputy Martin X. Salazar are liable to Plaintiff in this

action or that the Plaintiff sustained any damages. Further, this judgment is entered in total

settlement of this action, including any and all claims that were or could have been included in
this action against Defendants Sgt. Mack L. Allingham, Sgt. Juan Montano, and Deputy Martin

X. Salazar and shall have no other effect whatsoever except in full and final settlement of this

 
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case.

Finally, this Judgment shall be not be used for any purpose, other than recited herein, in

this or in any other legal proceeding. Cy i
THE HONORABLE JAMES — fie
enior/United States District Judge

 

APPROVED:

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Attorneys for Defendant Salazar

  
    

SCHEUER, YOST & PATTERSON

By: Approved 5/19/9

TONY ORTIZ
Attorneys for Defendants Allingham and Montafio
